
9 N.Y.2d 960 (1961)
Sunnybrook Realty Co., Inc., Appellant,
v.
State of New York, Respondent. (Claim No. 32844.)
Court of Appeals of the State of New York.
Argued April 18, 1961.
Decided May 18, 1961.
John B. Gilleran and Rocco Leone for appellant.
Louis J. Lefkowitz, Attorney-General (Julius L. Sackman and Paxton Blair of counsel), for respondent.
Concur: Chief Judge DESMOND and Judges DYE, FULD, FROESSEL, VAN VOORHIS, BURKE and FOSTER.
Judgment affirmed, without costs; no opinion.
